Case:12-13815-TBM Doc#:669 Filed:04/10/19                 Entered:04/10/19 17:11:09 Page1 of 3



                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:                                         )
                                                )
 UNITED WESTERN BANCORP, INC.                   )      Case No. 12-13815 TBM
 Tax ID/EIN: XX-XXXXXXX                         )      Chapter 7
                        Debtor,                 )
                                                )
                                                )
 SIMON E. RODRIGUEZ, in his capacity            )
 as Chapter 7 Trustee for the bankruptcy        )
 estate of United Western Bancorp, Inc.,        )
                               Plaintiff,       )
                                                )
 v.                                             )      Adv. Proc. No. 14-01191 TBM
 FEDERAL DEPOSIT INSURANCE                      )
 CORPORATION, in its capacity as                )
 Receiver for United Western Bank,              )
                             Defendant.         )


                  NOTICE OF FILING OF PETITION FOR CERTIORARI
                  IN THE SUPREME COURT OF THE UNITED STATES


         Plaintiff Simon E. Rodriguez, Chapter 7 Trustee for the bankruptcy estate of United
 Western Bancorp, Inc. (“Plaintiff), hereby gives notice that a Petition for Writ of Certiorari to the
 United States Court of Appeals for the Tenth Circuit has been filed on his behalf as Plaintiff in this
 Adversary Proceeding in the Supreme Court of the United States (the “Petition”). A copy of the
 Petition is attached as Exhibit A. The Petition was docketed April 3, 2019. The deadline for a
 response by Defendant Federal Deposit Insurance Corporation in its capacity as Receiver for
 United Western Bank is due May 2, 2019.




 3020353.1
 3020353.1
Case:12-13815-TBM Doc#:669 Filed:04/10/19    Entered:04/10/19 17:11:09 Page2 of 3



       Dated: April 10, 2019     /s/ Mark E. Haynes
                                 Mark E. Haynes
                                 IRELAND STAPLETON PRYOR & PASCOE, PC
                                 717 Seventeenth Street, Suite 2800
                                 Denver, Colorado 80202
                                 Telephone: (303) 623-2700
                                 mhaynes@irelandstapleton.com
                                 Counsel for Simon E. Rodriguez, in his capacity as
                                 Chapter 7 Trustee for the bankruptcy estate of United
                                 Western Bancorp, Inc.




                                      2
Case:12-13815-TBM Doc#:669 Filed:04/10/19              Entered:04/10/19 17:11:09 Page3 of 3



                                CERTIFICATE OF SERVICE

        The undersigned certifies that on April 10, 2019, true and correct copies of the foregoing
 NOTICE OF FILING OF A PETITION FOR CERTIORARI IN THE SUPREME COURT
 OF THE UNITED STATES was served via CM/ECF and/or prepaid first class mail upon the
 following:


        John F. Young, Esq.
        Markus Williams Young & Zimmerman, LLC
        1700 Lincoln Street, Suite 4550
        Denver, CO 80203-4505

        Alan P. Solow, Esq.
        Oksana Koltko Rosaluk
        DLA Piper LLP (US)
        203 North LaSalle Street, Suite 1900
        Chicago, IL 60601-1293

        Joseph Brooks, Esq.
        Colleen J. Boles, Esq.
        Kathryn R. Norcross, Esq.
        Michelle Ognibene, Esq.
        Federal Deposit Insurance Corporation
        3501 Fairfax Drive, VS-D_7010
        Arlington, VA 22226


        U.S. Trustee’s Office
        1961 Stout Street, Suite 12-200
        Denver, CO 80294
        Attn: Alan K. Motes, Esq.



                                                      /s/ Mark E. Haynes
                                                     Mark E. Haynes




                                                3
